  Case 4:24-cr-00298     Document 105     Filed on 11/20/24 in TXSD   Page 1 of 8




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

UNITED STATES OF AMERICA                     '
                                             '
                                             '
             v.                              ' Criminal Action No: 4:24-cr-00298
                                             '
EITHAN DAVID HAIM                            '


             GOVERNMENT’S MOTION FOR A GAG ORDER

TO THE HONORABLE DAVID HITTNER:

      The Government respectfully submits this motion to request that the Court

impose a gag order on the defendant and his defense counsel, as set forth in the

proposed order filed with this motion.

      The Government has become aware that this week, the defendant Eithan

David Haim and his defense counsel Marcella Burke have made numerous publicly

available statements on X (formerly known as Twitter) regarding the trial. Of

particular concern to the Government are posts that could interfere with a fair trial

or otherwise prejudice the Government or the administration of justice because they

discuss and characterize the substance of pretrial proceedings that would ordinarily

be excluded from consideration by the jury, and disparage the prosecutors and the

case in inflammatory language. To that end, Ms. Burke appears to be violating Rule


                                         1
     Case 4:24-cr-00298    Document 105      Filed on 11/20/24 in TXSD     Page 2 of 8




3.07 of the Texas Disciplinary Rules of Professional Conduct governing trial

publicity.1

         Exhibit A to this motion, submitted under seal, are the recent X posts of the

defendant. Exhibit B to this motion, submitted under seal, are the recent X posts of

Ms. Burke.       All these posts are publicly available, and have been viewed by

thousands (and in some cases, tens of thousands) of users on X.




1
    As relevant here, Rule 3.07 states:

(a) In the course of representing a client, a lawyer shall not make an extrajudicial
    statement that a reasonable person would expect to be disseminated by means
    of public communication if the lawyer knows or reasonably should know that it
    will have a substantial likelihood of materially prejudicing an adjudicatory
    proceeding. A lawyer shall not counsel or assist another person to make such a
    statement.

(b) A lawyer ordinarily will violation paragraph (a), and the likelihood of a
    violation increases if the adjudication is ongoing or imminent, by making an
    extrajudicial statement of the type referred to in that paragraph when the
    statement refers to:

            (1) the character, credibility, reputation or criminal record of a party. . .

            (5) information the lawyer knows or reasonably should know is likely to
                be inadmissible as evidence in a trial and would if disclosed created
                a substantial risk of prejudicing an impartial trial.

Rule 3.07, Texas Disciplinary Rules of Professional Conduct (2022).
                                             2
   Case 4:24-cr-00298       Document 105      Filed on 11/20/24 in TXSD     Page 3 of 8




      I.       LEGAL STANDARD

           The Fifth Circuit has held that “a district court may . . . impose an

appropriate gag order on parties and/or their lawyers if it determines that

extrajudicial commentary by those individuals would present a ‘substantial

likelihood’ of prejudicing the court’s ability to conduct a fair trial,” “as long as the

order is also narrowly tailored and the least restrictive means available.” United

States v. Brown, 218 F.3d 415, 427-28 (5th Cir. 2000) (quoting Gentile v. State Bar

of Nevada, 501 U.S. 1030 (1991)); see United States v. Hill, 420 F. App’x 407 (5th

Cir. 2011).

           As the Fifth Circuit concluded in affirming the gag order on the defendant

and his attorneys in Brown, “‘Extrajudicial comments on, or discussion of, evidence

which might never be admitted at trial and ex parte statements by counsel [or

parties] giving their version of the facts obviously threaten to undermine [the] basic

tenet’ that the outcome of a trial must be deiced by impartial jurors.” 218 F.3d at 429

(quoting Gentile, 111 S. Ct. at 2743); see id. at 425 (noting that “gag orders on trial

participants are evaluated under a less stringent standard than gag orders on the

press”); United States v. Aldawsari, 693 F.3d 660, 665-66 (5th Cir. 2012) (affirming

gag order barring the parties, their representatives, and their attorneys of record from

communicating with the news media about the case).

                                              3
    Case 4:24-cr-00298    Document 105      Filed on 11/20/24 in TXSD     Page 4 of 8




       II.   Proposed Gag Order

       The Government respectfully requests that the Court impose a gag order on

the defendant and the members of the defense team, including defense counsel, that

is substantially identical to the gag orders approved by the Fifth Circuit in Brown

and Hill.2 The requested order provides that:

       1. No person covered by this order shall make any statement to members
          of television, radio, newspaper, magazine, internet, or other media
          organization, or shall publicly post or re-post any statement on the
          internet, including social media websites such as X, Facebook, or
          LinkedIn, that could interfere with a fair trial or otherwise prejudice the
          Defendant, the Government, or the administration of justice.

       2. Nothing set forth above shall prohibit any of the parties from the
          following:
              a. Stating, without elaboration or any kind of characterization
                 whatsoever:
                     i. The general nature of an allegation or defense made in this
                        case;
                    ii. Information contained in the public record of this case;
                   iii. Scheduling information;
                   iv. Any decision made or order issued by the court which is a
                        matter of public record.

             b. Explaining, without any elaboration or any kind of
                characterization whatsoever the contents of substance of any
                motion or step in the proceedings, to the extent such motion or
                step is a matter of public record in this case and any ruling made
                thereon to the extent that such ruling is a matter of public record.

2
 The gag orders in Brown and Hill did not involve social media posting. The
Government has edited the proposed order to include statements on social media.
                                           4
   Case 4:24-cr-00298    Document 105      Filed on 11/20/24 in TXSD     Page 5 of 8




      Brown found a similar gag order narrowly tailored to address the concerns of

extrajudicial statements causing prejudice, while still leaving available various

avenues of expression, including assertions of innocence, general statements about

the nature of an allegation or defense, and statements of matters of public record.

218 F.3d at 429; see also United States v. Hill, 420 F. App’x 407 (finding similar

gag order was reasonably specific to support a contempt conviction).

      III.   Argument

      The defendant and his counsel have demonstrated that they want to try this

case in the press. See United States v. Brown, 218 F.3d 415, 429 (affirming gag

order where district court found that government and the defendants are prepared to

‘try this case in the press’ and would attempt to use the media to influence the

potential jury pool). As the Government described in its pretrial motions (Dkt. 33)

the defendant has made numerous public statements about the case, including

interviews in which he disparaged the Government and set forth his version of the

facts. He has continued to use social media throughout the proceedings to influence

press coverage. The defendant and his counsel have now crossed a line, bombarding

social media with inaccurate and inflammatory descriptions of pretrial proceedings

that would never be admissible before a jury. See Ex. A and B (Tweets from

October 26, 2024 through November 19, 2024). Even more shocking, Ms. Burke re-
                                           5
  Case 4:24-cr-00298      Document 105      Filed on 11/20/24 in TXSD      Page 6 of 8




posted a Tweet that included a photograph of AUSA Tina Ansari while, among

other inaccurate statements, falsely suggested that that Ms. Ansari is making up law

and statutes in filings. See Ex. B. The Government is concerned that such

inflammatory posts encourage the online bullying of prosecutors and create

heightened safety risks, serving as invitations to members of the media and the

public to harass prosecutors.

      These public postings create a substantial likelihood of prejudicing the

Government, further tainting the jury pool, and impeding the Court’s ability to hold

a fair trial. We therefore respectfully request that the Court impose the proposed gag

order to limit the damage.

      In the alternative, if the Court declines to enter a gag order at this time, the

Government respectfully requests that the Court, on the record, admonish the

defendant and his attorneys to refrain from making statements that could prejudice

proceedings, and remind defense counsel of their duties under the Rules of

Professional Conduct.




                                            6
  Case 4:24-cr-00298       Document 105   Filed on 11/20/24 in TXSD     Page 7 of 8




   I.      CONCLUSION

        For the reasons set forth above, the Court should grant the Government’s

request for a gag order.

Date: November 20, 2024                       Respectfully submitted,

                                              ALAMDAR HAMDANI
                                              United States Attorney
                                              Southern District of Texas

                                      By:     s/ _Jessica Feinstein_________
                                              Jessica Feinstein
                                              Tyler S. White
                                              Assistant United States Attorneys
                                              1000 Louisiana Street, 25th Floor
                                              Houston, Texas 77002
                                              Tel.: (713) 567-9000




                                          7
   Case 4:24-cr-00298     Document 105     Filed on 11/20/24 in TXSD   Page 8 of 8




                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this November 20, 2024, I electronically filed

the foregoing document with the Clerk of Court using CM/ECF, which will send a

notice of electronic filing to all defense counsel of record.


                                               s/ Jessica Feinstein
                                               Jessica Feinstein
                                               Assistant United States Attorney




                                           8
